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                           UNITED STATES DISTRICT
                          COURT FOR THE DISTRICT OF
                                 COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
         v.                                   : CRIMINAL NO. 20-MJ-00122
                                              :
MATHEW CAPSEL,                                :
    Defendant.                                :


               CONSENT MOTION TO CONTINUE PRELIMINARY HEARING

         The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully files this Consent Motion to Continue the Preliminary

Hearing in the above-captioned matter, currently scheduled for March 4, 2021 until a date after

April 5, 2021. In support thereof, the government states as follows:

   1. On January 19, 2021, the defendant was arrested and charged by Criminal Complaint

         with one count of Obstruction, in violation of 18 U.S.C. § 243(a)(3); Assault, in

         violation of 18 U.S.C. § 111, and Unlawful Entry on Capitol Grounds, violation of 18

         U.S.C. § 1752(a)(1) and (4). On February 5, 2021, the Honorable Judge Meriweather

         ordered that the defendant remain on release subject to monitoring conditions. A

         preliminary hearing was set for March 4, 2021.

   2. The government and counsel for the defendant have conferred, and are continuing to

         communicate in an effort to resolve this matter. The government is also gathering

         discovery to provide to counsel for the defendant.

   3.     The parties, therefore, would respectfully request that the preliminary hearing be

         continued until a date after April 5, 2021. The parties agree that the interests and ends

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        of justice are best served and outweigh the interests of the public and the defendant in

        a speedy trial, and that this adjournment will allow the parties to continue negotiations

        in an effort to achieve a resolution before trial. Therefore, the parties agree that

        pursuant to 18 U.S.C. § 3161, the time from March 4, 2021 through the next court date

        shall be excluded in computing the date for speedy trial in this case.



       Wherefore, the parties respectfully request that the Court continue the Preliminary

Hearing in this matter until April 5, 2021, or to a date after that date convenient to the Court’s

calendar.

                                     Respectfully submitted,

                                     CHANNING D. PHILLIPS
                                     ACTING U.S. ATTORNEY
                                     D.C. BAR NO. 415793



                              By:     /s/
                                    Kenya K. Davis
                                    Assistant United States Attorney
                                    D.C. Bar No. 502305
                                    U.S. Attorney’s Office
                                    555 4th Street, N.W.
                                    Washington, D.C. 20530
                                    202-252-7059
                                    Kenya.Davis@usdoj.gov




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     :
                                              :
         v.                                   : CRIMINAL NO. 21-MJ-00122
                                              :
 MATHEW CAPSEL,                               :
         Defendant.                           :



                                            ORDER

        This matter having come before the Court pursuant to a Motion to Continue, upon

consent, it is therefore

        ORDERED that the parties shall appear for a Preliminary Hearing at_______ on April

_____, 2021. It is further

        ORDERED that pursuant to the representations made by the parties, the interests and

ends of justice are best served and outweigh the interests of the public and the defendant in a

speedy trial. Pursuant to 18 U.S.C. § 3161, the time from March 4, 2021 through April ____,

2021 shall be excluded in computing the date for speedy trial in this case.




                                             ______________________________________
                                             The Honorable Judge Faruqui




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